
Harris, J.,
delivered the opinion of the Court.
This is an action on the case, for a fraud in the sale of an unsound horse, in which it is insisted by the plaintiff that the unsoundness was a latent defect which could not be discovered by ordinary observation, and that this unsoundness was well known to the defendant at the time of the sale, which he suppressed from the plaintiff. There is proof in the record tending *151to. establish these facts. Upon the trial below, the Court charged the jury, “That the party selling property must tell the whole truth, if he speak at all. If the buyer relies upon his own judgment and observation, and the seller makes no representations that are untrue, or says nothing, the buyer takes the property at his own risk.”
This charge is erroneous. If the seller know of a latent defect in the property that could not be discovered by a man cf ordinary observation, he is bound to disclose it. The suppressio veri is as much a fraud as the suggestio falsi, and the jury should have been so instructed.
The judgment will be reversed and the cause remanded to the Circuit Court for a new trial.
